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                              IN THE UNITED STATES DISTRICT COURT

                             FOR THE SOUTHERN DISTRICT OF GEORGIA

                                         AUGUSTA DIVISION

VALENCIA COLON,                                      )
                                                     )
                Plaintiff,                           )
                                                     )
        v.                                           )            CV 121-149
                                                     )
RICHARD ROUNDTREE, et al.,                           )
                                                     )
                Defendants.                          )

                                       SCHEDULING ORDER

       In consideration of Fed. R. Civ. P. 16(b), the Local Rules, and the Rule 26(f) Report, the
Court imposes the following scheduling deadlines:

DATE OF RULE 26(f) CONFERENCE                                             October 25, 2021

LAST DAY FOR FILING MOTIONS TO                                            January 18, 2022
AMEND OR ADD PARTIES

LAST DAY TO FURNISH EXPERT WITNESS                                        February 22, 2022
REPORT BY PLAINTIFF

LAST DAY TO FURNISH EXPERT WITNESS                                        March 24, 2022
REPORT BY DEFENDANT

CLOSE OF DISCOVERY                                                        May 20, 2022

JOINT STATUS REPORT1                                                      May 20, 2022

LAST DAY FOR FILING CIVIL MOTIONS                                         June 20, 2022
INCLUDING DAUBERT MOTIONS, but
EXCLUDING MOTIONS IN LIMINE

        SO ORDERED this 13th day of December, 2021, at Augusta, Georgia.




        1
        On the date the discovery period expires, the parties shall file a Joint Status Report, found on the
Court’s website under Forms, Judge Epps Instructions and Forms, Civil, Joint Status Report Form - for
Judge Hall / Judge Epps. Any extension of the discovery period automatically extends the Joint Status
Report deadline.
